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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                         ROME DIVISION


JARROD JOHNSON, individually, and           )
on Behalf of a Class of persons similarly   )
situated,                                   ) CIVIL ACTION FILE NO.:
                                            )
      Plaintiff,                            ) 4:20-CV-0008-AT
v.                                          )
                                            )
3M COMPANY, et al.                          )
                                            )
      Defendants.


     INITIAL DISCLOSURES OF DEFENDANT FIBRO CHEM, LLC



      Pursuant to Federal Rule of Civil Procedure 26(a)(1) and Local Rule 26.1,

Defendant Fibro Chem, LLC (“Fibro Chem”) submits the following Initial

Disclosures. Fibro Chem will supplement these Initial Disclosures as permitted

and required by Federal Rule of Civil Procedure 26(e) should additional responsive

information be discovered.

      (1) If the defendant is improperly identified, state defendant’s correct
identification and state whether defendant will accept service of an amended
summons and complaint reflecting the information furnished in this
disclosure response.
      RESPONSE: Fibro Chem is properly identified.
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      (2) Provide the names of any parties whom defendant contends are
necessary parties to this action, but who have not been named by plaintiff. If
defendant contends that there is a question of misjoinder of parties, provide
the reasons for defendant’s contention.
      RESPONSE: At this time, Fibro Chem is not aware of any unnamed parties

who are necessary parties to this action.

      (3) Provide a detailed factual basis for the defense or defenses and any
counterclaims or cross-claims asserted by defendant in the responsive
pleading.
      RESPONSE: Plaintiff's claims relate to economic losses from increased

costs he alleges to have paid for water supplied by the City of Rome, Georgia.

Plaintiff alleges that he and other putative class members have faced surcharges

imposed by the City of Rome to offset the cost of upgrades to its water treatment

facility allegedly made to remove per- and polyfluoroalkyl substances ("PFAS")

from its water supply. Plaintiff alleges the PFAS can be traced to the wastewater of

certain Dalton-area carpet manufacturers and, following treatment by Dalton

Utilities, were released as runoff into rivers that feed Rome's water supply.

      Plaintiff does not plead facts sufficient to state any claim against Fibro

Chem. Plaintiff identifies no facts establishing that Fibro Chem owed him, let

alone breached, any legal duty under Georgia law. He alleges no facts establishing

that Fibro Chem proximately caused his alleged injuries. He alleges no facts

establishing that he has incurred any damages beyond purported surcharges that he
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incurred for drinking and domestic water he purchased from the City of Rome.

These alleged damages are exactly the same as those sought by the City of Rome

in City of Rome v. 3M Company, et al., Floyd County Superior Court, Civil Action

Number: 19cv02405JFL003, and are thus barred by the Economic Loss Doctrine.

      Fibro Chem does not manufacture carpet, PFAS or any chemicals containing

PFAS. Fibro Chem’s connection to Plaintiff’s alleged damages is limited to its

role as an intermediary in the supply chain between PFAS manufacturers and

carpet manufacturers.

      Plaintiff fails to allege facts establishing that Fibro Chem created or

controlled a nuisance. He also fails to allege facts that he has suffered any special

harm requisite to stating a claim for public nuisance.

      Discovery is ongoing, and investigation continues. Fibro Chem anticipates

that further discovery, investigation, and analysis may produce additional facts and

context which may further support Fibro Chem’s defenses. Fibro Chem reserves

the right to amend or supplement its response as additional responsive information

is discovered.

      Fibro Chem has not asserted any counterclaims or cross-claims at this time.

      (4) Describe in detail all statutes, codes, regulations, legal principles,
standards, customs or usages, and illustrative case law which defendant
contends are applicable to this action.
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      RESPONSE:

      Fibro Chem relies on, and hereby incorporates by reference, the legal

arguments, case law, and other authorities set forth in its Motion to Dismiss and

those set forth in the motions to dismiss filed by its co-defendants. As set forth in

detail in those motions and their supporting briefs, various legal principles and

authorities bar Plaintiff’s claims against Fibro Chem. Those principles and

authorities include, but are not limited to:

      • The Economic Loss Rule providing that “a plaintiff can recover in tort only

those economic losses resulting from injury to his person or damage to his

property.” Gen. Elec. Co. v. Lowe's Home Centers, Inc., 608 S.E.2d 636, 637 (Ga.

2005).

      • The Public Services Doctrine barring suits in tort to “recover the costs of

carrying out public services.” Walker Cnty v. Tri-State Crematory, 643 S.E.2d 324,

327 (Ga. Ct. App. 2007).

      • Fed. R. Civ. P. 8 and 12(b)(6), including the requirement that a plaintiff

allege facts sufficient “to state a claim for relief that is plausible on its face,”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007)), and related Eleventh Circuit case law
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condemning shotgun pleadings. Davis v. Coca-Cola Bottling Co. Consol., 516 F.3d

955, 979 (11th Cir. 2008), abrogated on other grounds.

      • The requirement that a plaintiff establish that defendant owes a legal duty

as a prerequisite to recovery in tort. John Crane, Inc. v. Jones, 278 Ga. 747, 751

(2004), and the line of case law in Georgia rejecting the notion of a “duty to the

world” or using “mere foreseeability” to extend a duty of care. Dep’t of Labor v.

McConnell, 305 Ga. 812, 816 (Ga. 2019); CSX Transp., Inc. v. Williams, 608

S.E.2d 208, 209 (2005).

      • The requirement that a plaintiff “show a legally attributable causal

connection between the defendant’s conduct and the alleged injury.” Alexander v.

Hulsey Env’t Servs., 702 S.E.2d 435, 439 (Ga. Ct. App. 2010); see also Yearty v.

Scott Holder Enters., 824 S.E.2d 817, 821 (Ga. Ct. App. 2019) (proximate cause is

“that which, in the natural and continuous sequence, unbroken by other causes,

produces an event, and without which the event would not have occurred”)

(quoting Zwiren v. Thompson, 276 Ga. 498, 500 (Ga. 2003)).

      • The principles under Georgia law that require a plaintiff pursuing a public

nuisance claim establish special harm and show the defendant exercised control

over the instrumentality of the nuisance. Sumitomo Corp. of Am. v. Deal, 569

S.E.2d 608, 613 (Ga. Ct. App. 2002) (control); Patten v. Mauldin, 132 S.E.2d 664,
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667 (Ga. 1963) (special harm); T. Co. of Ga. v. Ray, 54 S.E. 145, 146 (Ga. 1906)

(special harm);

      • The legal principle that claims for injunctive relief, punitive damages, and

attorneys’ fees cannot stand alone and must be based on a valid underlying claim.

Rigby v. Flue-Cured Tobacco Coop. Stabilization Corp., 794 S.E.2d 413, 415 (Ga.

Ct. App. 2016).

      Discovery is ongoing, and investigation continues. Fibro Chem reserves the

right to amend or supplement its response as additional responsive information is

discovered.

      (5) Provide the name and, if known, the address and telephone number
of each individual likely to have discoverable information that you may use to
support your claims or defenses, unless solely for impeachment, identifying
the subjects of the information. (Attach witness list to Initial Disclosures as
Attachment A.)
      RESPONSE: See Attachment A.

      (6) Provide the name of any person who may be used at trial to present
evidence under Rules 702, 703, and 705 of the Federal Rules of Evidence. For
all experts described in Fed. R. Civ. P. 26(a)(2)(B), provide a separate written
report satisfying the provisions of that rule. (Attach expert witness list and
written reports to Responses to Initial Disclosures as Attachment B.)
      RESPONSE: Fibro Chem has not yet identified any witness(es) who may

be used at trial to present evidence under Rules 702, 703, or 705 of the Federal

Rules of Evidence. In addition, Fibro Chem has not yet determined whether it will
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identify any testifying expert witness(es) subject to the disclosure requirements of

Fed. R. Civ. P. 26(a)(2)(B).     Fibro Chem will timely amend this disclosure

consistent with the Federal Rules of Civil Procedure and in accordance with the

Court’s Case Management Order.

      (7) Provide a copy, or a description by category and location, of all
documents, data compilations or other electronically stored information, and
tangible things in your possession, custody, or control that you may use to
support your claims or defenses unless solely for impeachment, identifying the
subjects of the information. (Attach document list and descriptions to Initial
Disclosures as Attachment C.)
      RESPONSE: See Attachment C.

       (8) In the space provided below, provide a computation of any category
of damages claimed by you. In addition, include a copy of, or describe by
category and location of, the documents or other evidentiary material, not
privileged or protected from disclosure, on which such computation is based,
including materials bearing on the nature and extent of injuries suffered,
making such documents or evidentiary material available for inspection and
copying under Fed. R. Civ. P. 34. (Attach any copies and descriptions to
Initial Disclosures as Attachment D.)
      RESPONSE: Not applicable at this time.

      (9) If defendant contends that some other person or legal entity is, in
whole or in part, liable to the plaintiff or defendant in this matter, state the
full name, address, and telephone number of such person or entity and
describe in detail the basis of such liability.
      RESPONSE: Fibro Chem does not presently contend that any other party is

liable to Plaintiff or Fibro Chem, however, Fibro Chem will amend this disclosure
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in the event that new information arises during discovery that changes this

position.

       (10) Attach for inspection and copying as under Fed. R. Civ. P. 34 any
insurance agreement under which any person carrying on an insurance
business may be liable to satisfy part or all of a judgment which may be
entered in this action or to indemnify or reimburse for payments made to
satisfy the judgment. (Attach copy of insurance agreement to Initial
Disclosures as Attachment E.)
      RESPONSE:        Fibro Chem will produce the declaration page for any

applicable insurance policy.
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                                 ATTACHMENT A
       Fibro Chem identifies the following individuals who may have discoverable

information Fibro Chem may use to support is defenses, unless solely used for

impeachment:

       1.     Jarrod Johnson and putative class members: As the named Plaintiff,

Mr. Johnson has knowledge relating to the factual allegations and the claims

asserted in this action. Mr. Johnson and other class members can be contacted

through counsel for Plaintiff.

       2.     Alan Greene: Mr. Green is Fibro Chem’s Director of Technology and

has knowledge regarding the formulations of the materials used by Fibro Chem.

       3.     Vince Gurzo: Mr. Gurzo is Fibro Chem’s Chief Executive Officer

and has knowledge regarding Fibro Chem’s operations.

       4.     Fibro Chem reserves the right to call any fact witnesses identified by

Plaintiff or the other Defendants in their disclosures. Specifically, Fibro Chem

reserves the right to call:

       • Any other witness identified during discovery in this matter.

       • Any witness, including experts, identified by any other party to this case

regardless of whether the party remains at trial or the designating party withdraws

or otherwise does not call the witness to testify at the trial.
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      • Any person whose testimony Fibro Chem requires to authenticate or lay

evidentiary foundations to admit any documents into evidence.
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                               ATTACHMENT C
      The following is a description by category of all documents, data

compilations, or other electronically stored information and tangible things in

Fibro Chem’s possession, custody, or control that it may use to support its

defenses, unless solely for impeachment. Fibro Chem does not concede the

admissibility of any such documents on any grounds and reserves all objections to

any documents identified herein. Fibro Chem reserves the right to supplement or

amend this disclosure.

      1. Any Material Safety Data Sheets / Safety Data Sheets, Technical Data

Sheets, or product labels for any product at issue in this case with respect to Fibro

Chem.

      2. Any documents identified in any other party’s Rule 26(a) disclosures,

expert disclosures, depositions, discovery responses, or other matters of record in

this case.

      3. Any documents or exhibits provided by Fibro Chem or any other party in

response to any and all discovery or otherwise referred to in any party’s discovery

responses or expert disclosures.

      4. All records referred to in or produced pursuant to any subpoena related to

this case.
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                      ATTACHMENT E



See attached.
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                            NAUTILUS INSURANCE COMPANY
                                                       Scottsdale, Arizona

                      SITE SPECIFIC POLLUTION LIABILITY DECLARATIONS

POLICY NUMBER: SSP2019007-13                                         RENEWAL OF: SSP2019007-12

INSURED’S NAME AND ADDRESS:                                          PRODUCER’S NAME AND ADDRESS:
Fibro Chem, LLC                                                      Program Insurance Management of Sarasota, Inc. DBA
1521 E. Walnut Avenue                                                ChemPlan
Dalton, GA 30721                                                     8121 Vicela Dr
                                                                     Sarasota, FL 34240
                                                                     Producer No.: 2201




POLICY PERIOD: August 01, 2019 to August 01, 2020 at 12:01 a.m. Standard Time at your mailing address shown above.

IN RETURN FOR THE PAYMENT OF PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE WITH YOU
TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

COVERAGE AND LIMITS OF INSURANCE:

                                                                                             Per Pollution              Coverage
Coverage Description                                                                       Condition Limit           Section Limit

A – First Party Cleanup Costs                                                                 Not Provided            Not Provided

B – Third Party Claims for Cleanup Costs, Bodily Injury or Property Damage                     $ 1,000,000             $ 1,000,000

C – Third Party Claims for Non-Owned Disposal Sites                                            $ 1,000,000             $ 1,000,000

D – Third Party Claims for Contingent Transportation                                           $ 1,000,000             $ 1,000,000

TOTAL ALL POLLUTION CONDITIONS AND CLAIMS LIMIT:                                                                       $ 1,000,000


NOTICE TO THE INSURED:


This contract is registered and delivered as a surplus line coverage under the Surplus Line Insurance Law
O.C.G.A. Chapter 33-5.

Name of Surplus Lines Broker: _______________________________________




RETROACTIVE DATES:
Retroactive Date - Non-Owned Disposal Sites(s): SEE ENDORSEMENTS ATTACHED TO THIS POLICY
Retroactive Date - All Other Coverage(s): SEE ENDORSEMENTS ATTACHED TO THIS POLICY


DESCRIPTION OF BUSINESS:
Corporation



SSP DEC 01 11                                                                                                            Page 1 of 2
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SCHEDULE OF COVERED LOCATION(S):
SEE SCHEDULE OF COVERED LOCATION(S) ENDORSEMENT FORM ATTACHED TO THIS POLICY.



RETENTIONS:
Site Specific Pollution Liability: Self Insured Retention $10,000 Per Pollution Condition


PREMIUM:
SITE SPECIFIC POLLUTION LIABILITY COVERAGE:                                                                                   $ 7,803
TERRORISM RISK INSURANCE ACT:                                                                                                Rejected
                                                                                      POLICY PREMIUM:                         $ 7,803
                                                                          MINIMUM EARNED PREMIUM:                             25.00%


FORMS AND ENDORSEMENTS (Other than applicable forms and endorsements shown elsewhere in the policy):
Forms and Endorsements applying to this policy and made part of this policy at time of issue:
SEE SCHEDULE OF FORMS AND ENDORSEMENTS


NAME AND ADDRESS OF ADMINISTRATIVE OFFICE:
Berkley Environmental (A Berkley Company)
Two Ravinia Drive, Suite 1100, Atlanta, GA 30346
Phone No.: (404) 443-2040, See CLAIMS NOTICE for claims contact information.



THIS DECLARATIONS, TOGETHER WITH THE COMMON POLICY CONDITIONS AND COVERAGE FORM(S) AND ANY
ENDORSEMENT(S), COMPLETE THE ABOVE NUMBERED POLICY.



    Countersigned:                                                            By:
    Issue Date: 08/14/19                                                                        Authorized Representative




SSP DEC 01 11                                                                                                               Page 2 of 2
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      Respectfully submitted this 19th day of March, 2021.



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                     CERTIFICATE OF COMPLIANCE


      I hereby certify that I prepared this document in 14 point Times New Roman

font and complied with the margin and type requirements of this Court.


                                            s/Kwende B. Jones
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION


JARROD JOHNSON, individually, and              )
on Behalf of a Class of persons similarly      )
situated,                                      ) CIVIL ACTION FILE NO.:
                                               )
      Plaintiff,                               ) 4:20-CV-0008-AT
v.                                             )
                                               )
3M COMPANY, et al.                             )
                                               )
      Defendants.


                          CERTIFICATE OF SERVICE


      I hereby certify that on this 19th day of March, 2021, I electronically filed

the foregoing INITIAL DISCLOSURES OF DEFENDANT FIBRO CHEM,

LLC with the Clerk of Court using the CM/ECF system which will automatically

send an e-mail notification of such filing to the following:

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        Case 4:20-cv-00008-AT Document 522 Filed 03/19/21 Page 22 of 23




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